Case 2:04-Cr-20218-BBD Document 62 Filed 04/18/05 Page 1 of 2 Page|D 84

lN THE UNITEI) sTATEs DISTRICT COURT F`\*-T'~ 4?/ '
FoR THE WEsTERN DISTRICT 0F TENNESSEE

 

WESTERN DIVIsIoN 05 r.-..PR \8 PH w 3 y
UNITED sTATEs oF AMERICA, §§~§_R§;: “#§4‘, ‘(¢\EMPHS
Plaimiff_
vs. No. 2:04CR20218-01
MICHAEL 0’NEAL TATE,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on April 18, 2005 at 1100 p.m. For good cause shown, the Court hereby grants the

Defendant’s motion. The sentencing is hereby reset for the O?é day of &‘2(1 l ,
2005 at gigg@p.rn.

IT ls SO ORDERED this 18‘h day 0prri1,2005.

 

U ITED STATES DISTRICT JUDGE

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-202] 8 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

